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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )      2:13cr133-MHT
TRAVIS ANDRE MOSS and             )          (WO)
TERRANCE MAURICE THOMAS           )

                        OPINION AND ORDER

    This cause is before the court on defendant Terrance

Maurice Thomas’s motion to continue.           At an on-the-record

hearing on February 19, 2014, defendant Travis Andre Moss

joined in the motion, and the government stated that it

had no opposition to the motion.              For the reasons set

forth below, the court finds that jury selection and

trial for Moss and Thomas, now set for March 24, 2014,

should be continued pursuant to 18 U.S.C. § 3161(h)(6)

and (h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court
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is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.        The Act provides in part:

           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs."

18 U.S.C. § 3161(c)(1).           The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”    § 3161(h)(7)(A).        In granting a continuance, the

court may consider, among other factors, whether the

failure to grant the continuance would “result in a

miscarriage       of    justice,"        §   3161(h)(7)(B)(i),           or

“[w]hether the case is so unusual or so complex ... that

it   is   unreasonable       to    expect    adequate     preparation”

without granting a continuance.              § 3161(h)(7)(B)(ii).

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    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public, Moss, and Thomas in a speedy

trial.     Thomas’s original choice of counsel recently

learned of a conflict of interest that precluded him from

representing     Thomas,     and       Thomas   hired     replacement

counsel.    But Thomas’s new counsel appeared in the case

on only February 17.        It would be difficult for his new

counsel to familiarize himself adequately with the case

now set for jury trial on March 24.

    In addition, counsel for Moss wants additional time

to discuss possible resolution of the case for him.                    In

any event as for Moss, the Speedy Trial Act excludes from

the 70-day period “[a] reasonable period of delay when

the defendant is joined for trial with a codefendant as

to whom the time for trial has not run and no motion for

severance has been granted.” § 3161(h)(6).

    Given these circumstances, a continuance in this

matter is appropriate for both Moss and Thomas.



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Accordingly, it is ORDERED as follows:

(1) The       motion    to     continue      filed        by   defendant

      Terrance       Maurice      Thomas     (doc.    no.      51),    and

      joined in by defendant Travis Andre Moss on

      February 19, 2014, is granted.

(2) The jury selection and trial for defendants Moss

      and Thomas, now set for March 24, 2014, are

      reset    for     May   12,     2014,    at     10:00     a.m.,   in

      Courtroom      2FMJ    of    the     Frank     M.    Johnson     Jr.

      United States Courthouse Complex, One Church

      Street, Montgomery, Alabama.

DONE, this the 24th day of February, 2014.

                                  /s/ Myron H. Thompson
                               UNITED STATES DISTRICT JUDGE
